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                United States Bankruptcy Court
                                  Eastern District of Louisiana




EUGENE BARON SCHWING, JR.                                                                       18-13335
239 DILTON ST                                                                                   Chapter 13
NEW ORLEANS LA 70123                                                                             Section A



            EX PARTE MOTION TO DISCONTINUE WITHHOLDING EARNINGS


NOW INTO COURT comes S. J. Beaulieu, Jr., Trustee, who respectfully requests that the previously-entered
order to the debtor's employer to make deductions from the debtor's pay, and to remit the sums so
deducted to the Trustee (pleading #20), be rescinded. This request is occasioned as follows:


  The case is now completed.


  The debtor is no longer employed by the subject employer.


X The order w as requested by the debtor, who now requests that the deductions stop.


  The case is converted to a Chapter 7.


  The case is dismissed by order of the court.


  Debtor w as granted a suspension.


  The debtor has changed to Transfer Funds Service (TFS).


   The debtor has requested a suspension.


Employer:                                                                     /s/ S.J. Beaulieu, Jr.
                                                                              S.J. Beaulieu, Jr.
THIRD DIST FIRE DEPT                                                          Chapter 13 Trustee
10415 JEFFERSON HWY
NEW ORLEANS LA 70123

Attorney for debtor:                                                   C ERTIFIC ATE OF SERVIC E

                                                        I certify that this pleading was served by the court's
STEVEN J HUNTER
                                                        electronic filing system upon the debtor's attorney, and
steven.john.hunter@live.com                             by first class mail upon the debtor and the subject
                                                        employer, at the addresses listed herein.

                                                        Aug 03, 2021     by: /s/ Leslie Spain
